        Case 22-60020 Document 22-5 Filed in TXSB on 04/21/22 Page 1 of 2




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                VICTORIA DIVISION

IN RE:                                              §         Case No. 22-60020
                                                    §
INFOW, LLC, et al.,                                 §         Chapter 11 (Subchapter V)
                                                    §
        Debtors1                                    §         Jointly Administered




                            EXHIBIT E




1 The  Debtors in these chapter 11 cases along with the last four digits of each Debtor’s federal tax
identification number are as follows: InfoW, LLC f/k/a Infowars, LLC (6916). IWHealth, LLC f/k/a
Infowars Health, LLC (no EIN), Prison Planet TV, LLC (0005). The address for service to the Debtors is
PO Box 1819, Houston, TX 77251-1819.
Case 22-60020 Document 22-5 Filed in TXSB on 04/21/22 Page 2 of 2
